Case 1:18-ov-OO750-LTB Dooument 1 Filed 03/30/18 USDC Co|orado Page 1 of 19

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UN|TED STATES D|STRICT COURT
DENVER; COLORADO .

IN 'THE UNH'ED sTA'rES DISTRICT CoURT MAR .3 0 2013
FoR THL‘ DISTRICT oF CoLoRADo JEFFF<EY P. COlé/l\_/lé=.'lq.l*€

 

Civil Action No.

 

(To be supplied by the court)

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56€. &'l"\’éxc\/\n,<h , Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “see attached ” in the space above and attach an additional
sheet of paper with the full list of names. T he names listed in the above caption must be
identical to those contained in Section B. Do not include addresses here.)

 

PRISONER COMPLAINT _ j

 

 

‘ NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other
materials to the Clerk’s Ofiice with this complaint

 

 

 

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A. PLAINTIFF INFORMATION

You must noti]j/ the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case.

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(Name, prisoner idéntification number, and complete'mailing address) 3010\ '

 

(Other names by which you have been known)
Indicate whether you are a prisoner or other confined person as follows.' (check one)

\/ Pretrial detainee
Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner
Other: (Please explain)

 

B. DEFENDANT(S) INFORMATION

Please list the following information for each defendant listed in the caption of the complaint If l
more space is needed, use extra paper to provide the information requested T he additional
pages regarding defendants should be labeled "B. DEFENDANT(S) DVFOR]\MTION. ”

Defendant 1: C\\W OW\(> CO\.N\‘\'U\ U; m`h\l€(

(Name! job title, and completHhailing address)
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At the time the claim(s? in this Y.Yh laint arose, was this defendant acting under
color of state or federa law? es _ No (check one). Bnefly explain:

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Defendant l is being sued in his/her _ individual and/or _\Lfflcial capacity.

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Defendant 22 §§ 0\>1€/ O¥ CD\ON\ 110

(Name, job title, and complete mailing address)
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At the time the claim(s? in this co laintl arose, was this defendant acting under
color of state or federa law‘? _ es _ No (check one). Briefly explain:

 

Def`endant 2 is being sued in his/her _ individual and/or ___\__/official capacity.

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(Name, job title, and complete mailing addres§j
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At the time the claim(s? in this oath laint arose, was this defendant acting under
color of state or federa law? es _ No (check one). Briefly explain:

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Defendant 3 is being sued in his/her ____ individual and/or “_ official capacity.

C. JURISDICTION
Indicate the federal legal basis for your claim(s): (check all that apply)

\/ 42 U.S.C. § 1983 (state, county, and municipal defendants)‘1

l Bivens v. Six Unknown NamedAgents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971)
(f`ederal defendants)

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_ Other: (please identijj)) (` @Slq § B"ZS '\2515 ' C,Olomo\!) L:\I?Ll lJt‘/J
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D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action F or each claim,
specijj) the right that allegedly has been violated and state all facts".that support your claim,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). If additional space
is needed to describe any claim or to assert additional claims, use extra paper`to continue that
claim or to assert the additional claim(s). Please indicate that additional paper is attached and
label the additional pages regarding the statement of claims as “D; STATEMENT OF CLAIMS'. "

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E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit, o§lier than this lawsuit, in any federal or state court While you
were incarcerated? _ Yes No (check one).

If your answer is “Yes, ” complete this section of the form. If you have filed more than one
previous lawsuit, use additional paper to provide the requested information for each previous
lawsuit Please indicate that additional paper is attached and label the additional pages
regarding previous lawsuits as “E. PREVIOUS LAWSUITS. ”

Name(s) of defendant(s):

 

Docket number and court:

 

Claims raised:

 

Disposition: (is the case still pending?
has it been dismissed?; was relief granted?)

 

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Reasons for dismissal, if dismissed:

 

Result on appeal, if appealed:

 

F. ADM]NISTRATIVE REMEDIES
WARNING.' Prisoners must exhaust administrative remedies before filing an action in federal
court regarding prison conditions See 42 U.S.C. § ]997e(a). Y our case may be dismissed or
judgment entered against you if you have not exhausted administrative remedies
ls there a formal grievance procedure at the institution in Which you are confined?

___ Yes _ No (check one)
Did you just administrative remedies?

___ Yes __ No (check one)

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G. REQUEST FOR RELIEF
State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, use extra paper to request relief Please indicate that

additional paper is attached and label the additional pages regarding relief as “G. REQUEST
FOR RELIEF. ”

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H. PLA]NTIFF’S SIGNA'I'URE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct See 28 U. S. C. § 1746;
18 U S. C. § 1621

Under Federal Rule of Civil Procedure 11, by signing below, I also'certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if speciiically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule ll.

(Plalhtiff` s signature)

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(Form Revised December 2017)

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